                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF IOWA

TRACEY K. KUEHL, et al,                        )
                                               )   Case No. C14-2034-JSS
               Plaintiffs,                     )
                                               )
       vs.                                     )
                                               )
PAMELA SELLNER, et al,                         )   AFFIDAVIT OF JESSICA BLOME IN
                                               )   SUPPORT OF PLAINTIFFS’ MOTION
               Defendants.                     )   FOR SUMMARY JUDGMENT
                                               )

  AFFIDAVIT OF JESSICA BLOME IN SUPPORT OF PLAINTIFFS’ MOTION FOR
                        SUMMARY JUDGMENT


I, Jessica Blome, hereby declare as follows:



       1.      I am one of the primary attorneys representing Plaintiffs in this action. I am

employed as a Staff Attorney at the Animal Legal Defense Fund (ALDF), located at 170 East

Cotati Avenue, Cotati, CA 94931.

       2.      I have been a member in good standing of the Missouri State Bar since 2007 and I

have never been subjected to any disciplinary proceedings in any jurisdiction in the United States

or abroad. I have been admitted pro hac vice before this Court. See ECF No. 9, Order For

Admission Pro Hac Vice, 6:14-cv-02034-LRR (July 24, 2014).

       3.      Pursuant to L.R. 56(e), I file this Affidavit in support of Plaintiffs’ Motion for

Summary Judgment.

       4.      Attached hereto is the Appendix of Exhibits to Plaintiffs’ Statement of Facts and

Memorandum in Support of Plaintiffs’ Motion for Summary Judgment, complete with a Table of

Contents.
       5.      Attached hereto as Exhibit 1 is a true and correct copy of Plaintiffs’ Notice of

Intent to Sue, and the exhibits accompanying the Notice. The exhibits that accompany the Notice

include the Declaration of Dr. Peter H. Klopfer regarding the inadequate conditions and

inadequate care of the lemurs at the Cricket Hollow Zoo, four U.S. Department of Agriculture

(USDA) inspections reports of the Cricket Hollow Zoo, an Iowa Department of Agriculture and

Land Stewardship (IDALS) inspection report of the Cricket Hollow Zoo, and an April 2013

USDA Citation and Notification of Penalty of the Cricket Hollow Zoo. The USDA and IDALS

inspection reports and the USDA Citation are all public records, which I received from these

agencies in response to ALDF’s federal Freedom of Information Act (FOIA) requests.

       6.      Attached hereto as Exhibit 2 are true and correct copies of records I obtained

through a Freedom of Information Act request from the U.S. Animal and Plant Health Inspection

Service (APHIS). These include inspection reports, inspection photographs, a notice to

Defendants regarding their violations of the U.S. Code of Federal Regulations, fines and

settlement agreements APHIS reached with Defendants, correspondence between APHIS and

Defendants, and animal counts APHIS conducted while inspecting Defendants’ facility. These

materials are public records which I requested through FOIA and received from the agency in

response to ALDF’s FOIA requests.

       7.      Attached hereto as Exhibit 3 is a true and correct copy of Defendants’ Answers to

Plaintiffs’ First Set of Interrogatories (No. 1 through 12) that Defendants produced to Plaintiffs

during discovery.

       8.      Attached hereto as Exhibit 4 are true and correct copies of Defendants’ Animal

Records that Defendants produced to Plaintiffs during discovery. These include Defendants’

records regarding the acquisition of animals, attending veterinarian records, program of
veterinary care, large felid diet plan, primate enrichment program, contingency plan, wolf

exercise program, lemur records, tiger and lion records, and wolf records.

       9.      Attached hereto as Exhibit 5 is a true and correct copy of Defendant Pamela

Sellner’s 2005 “Certificate of Achievement” from the Feline Conservation Federation that

Defendants produced to Plaintiffs during discovery.

       10.     Attached hereto as Exhibit 6 are true and correct copies of Defendants’ business

and financial records that Defendants produced to Plaintiffs during discovery. These include the

Defendants’ balance sheet, expense tallies, bank statements, income tax returns, profit and loss

statements for the Cricket Hollow Zoo, Articles of Incorporation, and zoo attendance tallies.

       11.     Attached hereto as Exhibit 7 are true and correct copies of the transcripts from

depositions which Plaintiffs conducted of Defendant Pamela Sellner, Defendant Tom Sellner,

and Defendant’s veterinarian John Pries D.V.M. in March of 2015.

       12.     Attached hereto as Exhibit 8 are true and correct copies of documents and

photographs Plaintiffs produced to Defendants during discovery. These include aerial

photographs of Cricket Hollow Zoo, photographs taken by Plaintiffs of the animals and

conditions at the Zoo, and complaint letters and accompanying photographs Plaintiffs sent to

IDALS, APHIS, and the Delaware County, Iowa Sheriff. Plaintiffs who took photographs have,

in their Declarations submitted in support of the Plaintiffs’ Motion for Summary Judgment,

additionally verified the truth and accuracy of their photographs.

       13.     Attached hereto as Exhibit 9 are true and correct current copies of Regulations

promulgated by APHIS pursuant to the federal Animal Welfare Act and applicable to the

Endangered Species Act, which I obtained from the online Government Publishing Office.

Attached also as part of Exhibit 9 is a true and accurate copy of 77 Fed. Reg. 70728 (Nov. 27,
2012) regarding the U.S. Fish & Wildlife Service’s 90 day finding on a petition to list the

African lion as threatened under the ESA, which I obtained the online Federal Register on or

about May 25, 2015.

       14.     Attached hereto as Exhibit 10 is a true and correct copy of an Order from

Elephant Justice Project v. Woodland Park Zoological Society, Inc. et al., No. C15-0451-JCC,

ECF No. 28 (W.D. Wash. Apr. 7, 2015), which I obtained online from Pacer.



       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

                                             /s/ Jessica Blome
                                             Jessica Blome



                                             Jessica L. Blome (pro hac vice)
                                             Missouri Bar No. 59710
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